         Case 21-11213
Safety Insurance        Doc 10
                   Company                                          Filed 09/07/21 Entered 09/07/21 12:08:15                                 Desc Main
                                                                      Document     Page 1 of 3                                                                                  PAGE
                                                                                                                                                                                   3
             JACQUELINE SAMPAIO
             30 MAIN ST STE 17                                                                                DECLARATIONS.MASSACHUSETTS
             ASHLAND MA 01721                                                                                 BUSINESS AUTO COVERAGE FORM
             RENEWAL                           03/11/2021                                                     SCHEDULE
                                                                                                              Office/Agent:
             ITEM THREE - SCHEDULE OF COVERED AUTOS YOU OWN                                                   Policy No:
             VEHICLE INFORMATION
             DESCRIPTION
                                                                                                                                            Territory
                 Year            Make                      Model                 Cost          Size GVW, GCW or               Town and State Where the Covered
Auto                                                                                             Vehicle Seating                     Auto will be Garaged
No.              Vehicle Identification Number (VIN)                             New
                                                                                                    Capacity                     Territory/Premium Town/Zip
 010       2015     MERZ                   SPRINTER         TR                   42160                 Light                  ASHLAND
                                                                                                                                006                       631      /
 011       2019     MERZ                   SPRINTER         TR                   45000                 Light                  ASHLAND
                                                                                                                                006                       631      /



Auto                                                                       CLASSIFICATION                                                                      Loss of Use
No.                     Use                   Symbol Age                Class       Radius                Mobile Equipment            Inspect Code             Amount/Days
 010               Service                                    7         011890         Local                                                  9                        060 / 030
 011               Service                                    3         011890         Local                                                  9                        060 / 030
                                                                                                                                                                          /
                                                                                                                                                                          /
                                                                    LIABILITY LIMITS                           ( * Limit(s) in Thousands)
                           Personal
   Compulsory               Injury               Optional                 Property Damage                      Auto                 Uninsured             Underinsured
   Bodily Injury          Protection                                                                          Medical               Motorist                    Motorist
                              $8,000           Bodily Injury            (Compulsory Limit $5,000)            Payments          (Compulsory Limits
                               Each                                                                                             $20,000/40,000)
($20,000/$40,000)             Person
Auto
No. Premium               Premium * Limit Premium * Limit Ded. Premium Limit Premium * Limit Premium * Limit Premium
                                              CSL                                                                           100                       100
 010              202                15       1000                838 CSL                      INCL    5,000             10 300                    10 300                           49
                                              CSL
 011              202                15       1000                838 CSL                      INCL    5,000             10 100
                                                                                                                            300                    10 100
                                                                                                                                                      300                           49




                                                                   PHYSICAL DAMAGE
                                 **        Specified                                                                   Limited              ***          ***                  ***
Auto @ Value                                Perils                  Comprehensive               Collision              Collision        Waiver           Loss             Towing
No. Type and                                                                                                                                of            of               and
      Limit                    Cov.           Ded. Premium           Ded. Premium Ded. Premium Ded. Premium                              Ded.            Use              Labor
 010       ACV                                                      500                180   500             416                            YES          144
 011       ACV                                                      500                250   500             641                            YES          144




             ** F - Fire Coverage,      T - Theft Coverage,      F & T - Fire and Theft Coverage, CAC - Combined Additional Coverage
            *** YES Designates Waiver of Deduction/Loss of Use/Towing and Labor applies.
             ## Designates Policy Level Additional Insured-Lessor applies
              @ Designates whether Actual Cash Value, Stated Amount or Agreed Value and, except for ACV, the Limit of Liability
Auto No.     Except for towing all physical damage loss is payable to you and the loss payee named below as interests may appear at the time of loss.
 010       HUNTINGTON NATL BANK 2361 MORSE RD COLUMBUS OH 43229
 011       CITIZENS BANK*PO BOX 255587 SACRAMENTO CA               95865

                                                                                 STAT CODES
AUTO CAR          TYPE           PIP                       LIABILITY LIMITS                         PHYSICAL DAMAGE                                            P
NO.  ID           RISK        COV.    DED.      BI    PD MED       U1     U2     BCC COLL LOSS OF USE       O.T.C. AGE          SYM ATD           EXP.         R
 010                                     01                                       0                                       7             0                      N
 011                                     01                                       0                                       3             0                      0
                                                                                                                                        0                      0


    BATCH            SEQ.            REP       CURR DATE          AGENT        RUN SEQ.            END NO.         F    LAST DATE           CDT

     WFS                000          0               024            0                 000            00            V          000
MM 00 97 09 98                                                                                                                              INSURED
Case 21-11213   Doc 10   Filed 09/07/21 Entered 09/07/21 12:08:15   Desc Main
                           Document     Page 2 of 3
Case 21-11213   Doc 10   Filed 09/07/21 Entered 09/07/21 12:08:15   Desc Main
                           Document     Page 3 of 3
